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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                     )
                                              )
                      Plaintiff,              )               Case No. 8:04cr447
                                              )
               v.                             )
                                              )        REPORT AND RECOMMENDATION
ROGELIO RIOS-LOPEZ,                           )                AND ORDER
                                              )
                      Defendant.              )


       At the conclusion of the hearing on February 16, 2005, on defendant’s Motion to
Suppress (#35), I stated my conclusions on the record and my decision to recommend that
the motion to suppress be denied. In accordance with that announcement,
       IT IS RECOMMENDED to the Honorable Joseph F. Bataillon, United States District
Judge, that the Motion to Suppress (#35) be denied in all respects.
       FURTHER, IT IS ORDERED:
       1.      The clerk shall cause an expedited transcript of the hearing to be prepared
and filed.
       2.      Pursuant    to NECrimR 57.3, any objection to this Report and
Recommendation shall be filed with the Clerk of the Court within ten (10) days after the
transcript is available to counsel for reading in the clerk’s office. Failure to timely object
may constitute a waiver of any such objection. The brief in support of any objection shall
be filed at the time of filing such objection. Failure to file a brief in support of any objection
may be deemed an abandonment of the objection.
       Dated this _____ day of February 2005.

                                              BY THE COURT:


                                              S/ F.A. Gossett
                                              United States Magistrate Judge
